       Case 2:16-cv-14530-JTM-KWR Document 1 Filed 09/07/16 Page 1 of 5




                             UNITED STATES DISTRICT COURT

                            EASTERN DISTRICT OF LOUISIANA

ERICK WOLFERTZ                      )                        CIVIL ACTION NO:
                                    )
            Plaintiff               )                        SECTION:
     v.                             )
                                    )                        MAGISTRATE:
UNITED STATES OF AMERICA            )
                                    )
            Defendant               )
____________________________________)

                       COMPLAINT FOR DAMAGES UNDER
               THE FEDERAL TORT CLAIMS ACT, 28 U.S.C. §§ 2671-2680

       NOW INTO COURT, comes ERICK WOLFERTZ, by and through undersigned

counsel, and brings this action alleging as follows:

                                       INTRODUCTION

       1.      This is an action by plaintiff, Erick Wolfertz, for damages under the Federal Tort

Claims Act, 28 U.S.C. §§ 2671-2680. The action is brought against the United States of

America and arises from injuries sustained by Erick Wolfertz as a result of the acts and

omissions by Dr. Cara Morgan at Teche Action Clinic.

                                JURISDICTION AND VENUE

       2.      This action arises under Federal Tort Claims Act, 28 U.S.C. §§ 2671-2680 and,

accordingly, jurisdiction is vested in this Court by 28 U.S.C. § 1346(b).
          Case 2:16-cv-14530-JTM-KWR Document 1 Filed 09/07/16 Page 2 of 5




          3.    Jurisdiction in this Court is also proper in that, pursuant to 28 U.S.C. § 2675(a),

the claim set forth herein was first presented to the U.S. Department of Health and Human

Services on August 18, 2014. Defendant acknowledged receipt of the claim in a letter dated

August 22, 2014. On January 19, 2016, an amended claim was presented to the U.S. Department

of Health and Human Services. More than 6 months have passed since the filing of the claims

and the defendant has not issued a response. Therefore, the filing of this complaint is proper and

timely.

          4.    Venue in this matter is proper in the Eastern District of Louisiana under 28 U.S.C.

§ 1402(b) because the plaintiff resides in the district. Venue is also proper in that all of the

events and omissions giving rise to the causes of action occurred in this district.

                                          THE PARTIES

          5.    Plaintiff, Erick Wolfertz is a resident of Houma, Louisiana and, at all times

relevant to the allegations of this complaint, was a resident of Terrebonne Parish and a citizen of

the United States.

          6.    Defendant, United States of America, is properly named under the provisions of

the Federal Tort Claims Act in place of its agencies and employees.

                                  FACTUAL ALLEGATIONS

          7.    Erick Wolfertz was seen at the Teche Action Clinic-Houma on August 14, 2012

and September 26, 2012. The Teche Action Clinic is a federally funded health clinic.

          8.    The staff member electronically signing the notes for those visits was Dr. Cara

Morgan. The history of present illness documented on the note states that he was seen for lower

back pain of chronic onset. Erick Wolfertz’s symptoms included parasthesia and numbness
       Case 2:16-cv-14530-JTM-KWR Document 1 Filed 09/07/16 Page 3 of 5




bilaterally in his legs and feet and sudden inability to walk. Dr. Cara Morgan was an employee

of Teche Action Clinic and therefore Teche Action Clinic is vicariously responsible for her

actions and/or omissions.

       9.      Treatment at the August 14, 2012 visit consisted of medications and hot and cold

therapy with a note to refer to Dr. Billings at Tulane Medical Center for degenerative joint

disease of the lumbar spine with radiculopathy. The referral to Tulane was never made, causing

Erick Wolfertz to suffer severe injury.

       10.     On September 26, 2012, Erick Wolfertz again presented to Teche Action Clinic

and was treated by Dr. Cara Morgan. His symptoms were basically the same with additional

symptoms of tremors and uncontrollable shaking in his legs. Dr. Cara Morgan again prescribed

medication and hot and cold therapy with a note for referral to Dr. Billings at Tulane. The

referral was never made, causing Erick Wolfertz to suffer severe injury.

       11.     On October 2, 2012, Erick Wolfertz presented to the Emergency Room of Tulane

Medical Center with complaints of progressively worsening spasticity, bilateral lower extremity

tremors and weakness for approximately four months. He also complained of pain with tremors

in both lower extremities and had experienced episodes of bowel and bladder incontinence.

MRIs showed a disc bulge and significant spinal cord compression.

       12.     On October 8, 2012, Erick Wolfertz underwent an anterior cervical discectomy

and fusion on C5-C6 and C6-C7.

       13.     On October 18, 2012, Erick Wolfertz underwent C3-C7 laminectomy with

decompression of the spinal cord.
       Case 2:16-cv-14530-JTM-KWR Document 1 Filed 09/07/16 Page 4 of 5




        14.     Dr. Cara Morgan breached the standard of care in failing to timely refer Erick

Wolfertz to Tulane Medical Center.

        15.     This breach caused Erick Wolfertz to suffer permanent neurological deficits,

including being bound to a wheelchair.

        16.     As a result of the above facts, plaintiff, Erick Wolfertz has suffered physical pain

and suffering, mental pain and anguish, medical expenses, loss of enjoyment of life, past and

future wage loss, loss of earning capacity, as well as any and all other damages which may be

proven at trial. Plaintiff claims that he is entitled to damages in a reasonable amount to be

determined upon the trial of this cause.

        WHEREFORE, plaintiff, Erick Wolfertz prays for judgment against defendant, United

States of America, for all amounts reasonable under the premises, with legal interest thereon

from date of judicial demand until paid, for all costs of these proceedings, and for all general and

equitable relief.

                                              Respectfully Submitted,


                                              SAMANIE & STIPELCOVICH

                                              /s/ Stephen S. Stipelcovich___________
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      Case 2:16-cv-14530-JTM-KWR Document 1 Filed 09/07/16 Page 5 of 5




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